                  Case 1:19-cv-03826-ER Document 41 Filed 05/07/19 Page 1 of 2
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     May 7, 2019

     VIA CM/ECF

     Hon. Edgardo Ramos
     United States District Judge
     Southern District of New York
     Thurgood Marshall United States Courthouse
     40 Foley Square
     New York, NY 10007

              Re:         Trump et al. v. Deutsche Bank AG et al., No. 1:19-cv-03826

     Dear Judge Ramos:

             Pursuant to Local Rule 7.1(d), intervenor-defendants the Committee on Financial
     Services and the Permanent Select Committee on Intelligence of the U.S. House of
     Representatives (collectively, the Committees) request a 24-hour extension of time to file any
     response to plaintiffs’ letter seeking disclosure of the subpoenas challenged in this lawsuit.
     Plaintiffs consent to this brief extension of time. This is the Committees’ first request for an
     extension of time.

             On May 3, 2019, this Court ordered the Committees to respond to plaintiffs’ letter
     seeking disclosure of the subpoenas by close of business on Tuesday, May 7, 2019. The parties
     are currently engaged in good-faith negotiations to resolve this discovery dispute. Accordingly,
     the Committees seek a 24-hour extension of time to file any response to plaintiffs’ letter.

            The Court has scheduled a pre-motion conference for Thursday, May 9, 2019, at 2:30
     p.m. If the parties are unable to resolve this dispute, to conserve the resources of the parties and
     the Court, the Committees will request that the Court hold the scheduled conference
     telephonically. Plaintiffs have stated that they consent to such a request.

            For these reasons, the Court should grant the Committees’ consent request for a 24-hour
     extension to respond to plaintiffs’ May 3, 2019 letter.
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                                                   Respectfully submitted,

                                                   /s/ Douglas N. Letter
                                                   Douglas N. Letter
                                                       General Counsel
                                                   Todd B. Tatelman
                                                       Deputy General Counsel
                                                   Megan Barbero
                                                       Associate General Counsel
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cc:      All counsel who have appeared in this case (via ECF)




             *
                Attorneys for the Office of General Counsel for the U.S. House of Representatives
      are “entitled, for the purpose of performing the counsel’s functions, to enter an appearance in
      any proceeding before any court of the United States or of any State or political subdivision
      thereof without compliance with any requirements for admission to practice before such
      court.” 2 U.S.C. § 5571.
                                                     2
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 DONALD J. TRUMP; DONALD J. TRUMP,
 JR.; ERIC TRUMP; IVANKA TRUMP; THE
 DONALD J. TRUMP REVOCABLE TRUST;
 THE TRUMP ORGANIZATION, INC.;
 TRUMP ORGANIZATION LLC; DJT
 HOLDINGS LLC; DJT HOLDINGS
 MANAGING MEMBER LLC; TRUMP
 ACQUISITION LLC; and TRUMP
 ACQUISITION, CORP.,

                               Plaintiffs,

        v.
                                                            Case No. 1:19-cv-03826-ER
 DEUTSCHE BANK AG and CAPITAL ONE
 FINANCIAL CORP.,

                               Defendants,

 COMMITTEE ON FINANCIAL SERVICES
 OF THE U.S. HOUSE OF
 REPRESENTATIVES and PERMANENT
 SELECT COMMITTEE ON
 INTELLIGENCE OF THE U.S. HOUSE OF
 REPRESENTATIVES,

                      Intervenor-Defendants.


    [PROPOSED] ORDER GRANTING INTERVENOR-DEFENDANTS’ CONSENT
                   MOTION FOR EXTENSION OF TIME

       It is SO ORDERED that the consent motion of intervenor-defendants Committee on

Financial Services and Permanent Select Committee on Intelligence of the U.S. House of

Representatives for a 24-hour extension of time to respond to plaintiffs’ May 3, 2019 letter is

GRANTED.
         Case 1:19-cv-03826-ER Document 41-1 Filed 05/07/19 Page 2 of 2



Dated: __________                         _________________________________
                                          Judge Edgardo Ramos
                                          UNITED STATES DISTRICT COURT JUDGE




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